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U.S. Department of Justice

United States Attorney
Southern District of New York

 

BY EMAIL

The Honorable Andrew E. Krause
United States Magistrate Judge
Southern District of New York
300 Quarropas Street

White Plains, New York 10601

United States District Courthouse
300 Quarropas Street
White Plains, New York 10601

November 2, 2021

Re: United States v. Gelani Dixon, 21 Mag. 10437

Dear Judge Krause:

The Government respectfully requests that the Court unseal the Complaint in the above-
referenced case now that the defendant has been arrested.

SO ORDERED:

Ohndanau- Karan

 

HONORABLE ANDREW E. KRAUSE
UNITED STATES MAGISTRATE JUDGE

Dated: November 2, 2021

Respectfully submitted,

DAMIAN WILLIAMS
United States Attorney

/s/ Derek Wikstrom

Derek Wikstrom

Assistant United States Attorney
Tel: (914) 993-1946

 
